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                                                                         U.S. DISTRICT COURT
                                                                        MIDDLE DT8T ICT OF TN.


                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NORTHEASTERN DIVISION

Sarah Beth Cain,

              Plaintiff,                               NO.2:17-cv-00055
                                                       CHIEF JUDGE CRENSHAW
              V.                                       MAGISTRATE JUDGE FRENSLEY
Tennessee Technological University, Marc          )
Burnett, (individually and in his official        )
capacity), Katherine Williams (individually )
and in her official capacity), Robert Owens, )
(individually and in his official ) capacity, Kae )
Carpenter (individually and in her official       )
capacity), Marlene Hall (individually and in )
her official capacity)                            )


             Defendants.                          )



PLAINTIFF'S OBJECTIONS TO THE MAGISTRATE JUDGE'S SECOND REPORT AND
     RECOMMENDATION AND MOTION FOR DE NOVO DETERMINATION




                              INTRODUCTION AND BACKGROUND

       Plaintiff, Sarah Beth Cain, filed her Second Amended Complaint "Second Amended

Complaint" (Docket No. 17) on December 29, 2017, against Tennessee Technological University

("TTU")("University") , and Marc Burnett, Katherine Williams, Robert Owens, Kae Carpenter

and Marlene Hall ("individual Defendants") (collectively, 'Defendants") for violations of Title



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IX of the Education Amendment Acts of 1972, violations of Plaintiff s Due Process rights and

Equal Protection rights guaranteed by the Fourteenth Amendment, and two state claims for

intentional and negligent infliction of emotional distress.

        Specifically, Plaintiffs causes of action are as follows: TTU violated its obligations under

Title IX by failing to conduct a timely investigation into Plaintiffs report of being raped by

another student, Defendants' indifference facilitated a sexually hostile educational environment

and prevented Plaintiff from accessing resources provided by the University. Defendants'

failure to comply with their own policies or to take another line of action consistent with the

requirements outlined by Title IX and the Fourteenth Amendment deprived Plaintiff of property

and liberty interests that she was due, without giving her notice or an opportunity to be

meaningfully heard.

       On August 8, 2018, Magistrate Judge Frensley filed a Report and Recommendation

("Initial Report") (Docket No. 38), recommending that Defendants' Motion to Dismiss Plaintiffs

Second Amended Complaint be granted. Plaintiff filed Objections to the Initial Report and

included two documents that had not previously been in front of the magistrate judge. In light of

the new documents, Chief Judge Crenshaw entered an order requesting the reconsideration of the

Motion to Dismiss. On May 28, 2019, Magistrate Frensley filed another Report and

Recommendation ("Report" or "R&R"), again recommending that Defendants" Motion to

Dismiss Plaintiff's Second Amended Complaint be granted and the Complaint be dismissed with

prejudice.

                                        OBJECTIONS TO R&R

       Under § 636(b)(1)(C) this Court must make a de no>>o determination of those portions of

the Report to which objection is made. Plaintiff thus submits these detailed objections to




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preserve matters for this Court's review as well as for subsequent review. As explained below,

Plaintiff respectfully objects to the following:

   1. The Report does not comply with the legal standard required for deciding a Motion to
       Dismiss filed under Fed. R. Civ. P 12(b)(6).

       a. The Report does not draw all reasonable inferences in favor of the nonmoving party.

       b. The Report does not liberally construe the complaint in the light most favorable to the
          nonmoving party.

   2. Plaintiff objects to certain factual findings and omissions in the R&R.

       a. The R&R erroneously concludes that defendants have not been given proper notice of
          the allegations against them.

       b. Plaintiff objects to the R&R's assertion that plaintiff was given the opportunity to be
          meaningfully heard during TTU's investigation.

   3. Plaintiff objects to the R&R's conclusion that no exceptions to Eleventh Amendment
       Immunity are applicable to this case.

   4. Plaintiff objects to the R&R's assertion that Title IX does not provide for the imposition
       of individual liability.

   5. Plaintiff objects to the Report's conclusion that the allegations contained in Plaintiff's
      Second Amended Complaint do not demonstrate that the University was deliberately
      indifferent to plaintiff's peer-assault and harassment.

       a. Defendants' conduct was clearly unreasonable in light of the known circumstances

                   Defendants allowed months of inactivity to permeate their purported
                   investigation

             II.   The time that it took for Defendants to conduct and conclude an investigation
                   into plaintiff's complaint was excessive.

            III.   Defendants' refused to provide plaintiff with requested information about the
                   status or existence of an investigation.

       b. Defendants' conduct caused plaintiff to be vulnerable to further harassment

6. Plaintiff objects to the Report's assertion that the legal standards for Title IX and U.S.C. §
    1983 cannot be mutually exclusive.




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7. Plaintiff objects to the R&R's conclusion and reasoning that plaintiff cannot establish the
    requisite underlying constitutional violation to maintain her § 1983 individual capacity
    claims.

       a. Plaintiff has stated sufficient facts to support her Due Process Claims.

                   Plaintiff had private property and liberty interests that were affected by the
                   official action.

             II.   The University's response posed a serious and imminent risk of an erroneous
                   deprivation of plaintiff's property and liberty interests.

            III.   The University could have taken steps to prevent the deprivation of plaintiff's
                   property and liberty interests without undertaking actions that were
                   detrimental to any government interest and without imposing additional fiscal
                   and administrative burdens on the University.

       b. Plaintiff has provided sufficient specific facts to support her equal protection claim

8. Plaintiff objects to the R&R's recommendation that this court should decline to exercise
   supplemental jurisdiction over her state claims.


                                             OBJECTIONS

1. THE REPORT DOES NOT COMPLY WITH THE LEGAL STANDARD REQUIRED FOR
    DECIDING A MOTION TO DISMISS FILED UNDER FED. R. CIV. P 12(B)(6).
      a. The Report does not draw all reasonable inferences in favor of the nonmoving
          party.
          I.      The Report fails to draw reasonable inferences from the timeline described in
                  Plaintiff's Second Amended Complaint.
      Plaintiff reported her sexual assault in August 2015, requested that TTU investigate her

assault in November 2015 and engaged an attorney to "assist her with her communications with

TTU" in January 2016. (See Second Amended Complaint, Docket No. 17). The first reasonable

inference to be made is that it would have been unnecessary for Plaintiff to engage an attorney

for the purposes of assisting her with her communications with TTU if she had already had

success in such communications on her own. The mere fact that Plaintiff engaged an attorney

for this purpose strongly infers that TTU's correspondence with Plaintiff between November

2015 and January 2016 was superficial and inconsequential.



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            II.      The Report draws inferences in a light most favorable to Defendants

        The R&R incorrectly concludes that "The University was responding to Plaintiff's

allegations and the University was conducting an investigation." (Docket No. 49, p. 42).

                   "Plaintiff had regular communication multiple meetings with
                  University employees regarding, inter alia, her attack, the
                  investigation, her PTSD and other psychological effects, and her
                  declining grades and resultant financial aid difficulties. " Id.


Plaintiff's Second Amended Complaint does address TTU's failure to help mitigate damages

caused by her declining academic performance following her assault, stating in relevant part:

"Defendant Hall failed to inform [Plaintiff] that there might be remedies available to have to

have these courses removed from her transcripts and GPA". (Docket No. 17, p. 12). Tennessee

Tech's Sexual Misconduct Policy lists interim measures that TTU may take while investigating a

report of sexual misconduct, including:

        "Arranging for the complainant to re-take a course or withdraw from a class
       ii thout penalty, including ensuring any changes do not adversely affect the
       complainant's academic record". (See Docket No. 47, p. 23, TTU Policy 143,
       XVI (A)(7).)

Plaintiff's academic struggles, which are easily identifiable upon review of her academic record

before and after her assault strongly imply that such accommodations were needed but not

provided.

b. The Report does not liberally construe the complaint in the light most favorable to the
   nonmoving party.
      When reviewing pleadings written by an unrepresented party, the court must "liberally

[construe] a pleading filed by a pro se litigant to allow for the development of potentially

meritorious claims." See Boag v. MacDougall, 454 U.S. 364, 365 (1982). When reviewing a

motion to dismiss, the court must construe the complaint in the light most favorable to the




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   plaintiff, accept its allegations as true, and draw all reasonable inferences in favor of the

   plaintiff. See Direct, v. Treeth, 487 F. 3d 471,476 (6th Cir. 2007).

          There are several instances within the R&R in which the elements of the complaint have

   been construed in the light most favorable to Defendants. On page 44 of the R&R, there is a

   footnote containing a quote from Plaintiff's Second Amended Complaint but the emphasis has

   been modified so as to be construed in a light most favorable to Defendants. (Docket No. 49, p.

   44).

          The R&R reports that there were many documents which were "obtained and reviewed"

   by Defendants, but this was not action taken on the part of Defendants (Docket No. 49 at 37-

   38). Plaintiff kept meticulous notes and files regarding all aspects of her assault and, after

   requesting a university investigation she voluntarily provided her medical records, legal

   documents, and cell phone communications to TTU officials to facilitate their investigation. The

   postulation that Defendants acquired these documents through their own means or efforts is

   categorically false. Any attempt to portray the gathering of this documentation as evidence of an

   investigation is an attempt to construe the facts in the light most favorable to Defendants.

2. PLAINTIFF OBJECTS TO CERTAIN FACTUAL FINDINGS AND OMISSIONS IN THE
    R&R.
    a. The R&R erroneously concludes that Defendants have not been given proper notice of
       the allegations against them.

          The first assertion made by the Magistrate Judge in his discussion of the "Case at Bar" is

   that Plaintiff should not be able to "circumvent the notice requirements by constantly being

   permitted to submit iterations to her filings" (internal citation omitted) (Docket No. 49, p.

   34). The R&R asserts that "Fairness [therefore] entails Defendants knowing what allegations are

   against them and being able to respond accordingly". The Report's recommendation that

   Plaintiff's should be denied the opportunity to amend her complaint, appears to be based on the



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inference that Plaintiff has failed to provide Defendants with the required notice of the

allegations against them, which is untrue.

          Chief Judge Crenshaw issued an Order requesting reconsideration of Defendants' Motion

to Dismiss in light of the Sexual Misconduct Policy and Investigation Memorandum supplied by

plaintiff in her Objections to the Initial Report and Recommendation. Judge Crenshaw's Order

reads, in part:

                  "[T]he Court finds that this is not a case where Plaintiff has been
                  long delinquent in asserting her position or• has deliberately saved
                  her knockout punch for the second round" (internal citation
                  omitted). (Docket No. 48, p. 3).

          Furthermore, Defendants' have not expressed any sense of ambiguity or uncertainty in

the understanding of the claims against them in any of their previous filings.

b. The R&R erroneously concludes that Plaintiff s Due Process claims are based only on
   TTU's dissention from their own procedures.

          Throughout the Report, there is emphasis on the fact that a state cannot be said to have a

federal due process obligation to follow all of its procedures (Docket No. 49, pp. 5, 31-32, 35)

(citation omitted). Plaintiff does not dispute the assertion that "failure to follow official policies

can [therefore] be a relevant consideration, but is not, in and of itself, sufficient to impose

liability" and she has not attempted to impose liability on Defendants' based only on a failure to

abide by official policies. (Icy p. 35)

          Plaintiff's contention is not that TTU violated her Due Process rights soley by deviating

from their policies nor does she dispute that TTU could have honored her Due Process rights

without adhering to their own policies, however Defendants failed to take any action consistent

with their policies or any substitute procedures that could have been used to safeguard Plaintiff's

rights.




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        The R&R provides some useful citations for evaluating Due Process claims under the

Fourteenth Amendment but does not accurately align the facts of Plaintiff's case with the text of

the citation. The R&R states, in part:

                        "The Fourteenth Amendment's Due Process Clause has a
                substantive component that is separate and distinct from its
                procedural component. Seum v. Osborne, 348 E Supp. 3d 616,
                633 (E.D. Ky 2018), citing Howard v. Grinage, 82 F.3d 1343,
                1349 (6th Cir. 1996). The substantive component serves the goal
                of preventing governmental power from being used for purposes of
                oppression, regardless of the fairness of the procedures used.
                Id The goal of the procedural component is to minimize the risk of
                substantive error, to assure fairness in the decision-making
                process, and to assure that the individual affected has a
                participatory role in the process. "

        The violations of the substantive component of the Due Process Clause that were

committed by Defendants were, in fact, separate and distinct from the procedural violations. The

procedural violations are evident from a comparison of Defendants' action with TTU Policy 143,

while the substantive violations are those arising from Defendants' refusal to keep Plaintiff

informed as to the status of her complaint or to allow her to meaningfully participate in any

investigation and from Defendants' disparate treatment of Plaintiff and Respondent after the

filing of her report.

        c. Plaintiff objects to the R&R's assertion that Plaintiff was given the opportunity
           to be meaningfully heard during TTU's investigation.

        Several pages of the Report are dedicated to listing the ways in which the "University

was responding to Plaintiff's allegations", but there is no indication in any of the elements in this

list that Plaintiff had the opportunity to be meaningfully heard. (Docket No. 49 at 37, 38, 42).

        The R&R incorrectly concludes that "The investigation memorandum therefore

establishes that Plaintiff was given sufficient opportunities to be heard and meaningfully

participate in the investigation process such that she received the Due Process guaranteed under



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   the Fourteenth Amendment." (Docket No. 49, pp. 38). Plaintiff does not dispute the fact that she

   had correspondence with Defendants on several occasions or that she provided critical

   documentation in support of her complaint. However, Plaintiff was never given the opportunity

  to meaningfully participate in the investigation process. All correspondences with Defendants

  were superficial in nature and that they produced no actual opportunity for Plaintiff to be

   heard. (See Docket No. 27 pp. 14-18, AND, Docket No. 17, pp. 10-15).

          Plaintiff's communications with Defendants cannot be characterized as meaningful

  because they produced no result. The R&R reports that [...there are no allegations in the record

  concerning what, if anything, may have occurred between May 16, 2016 and January 11,

  2017... ]. The Collins English Dictionary defines "meaningful" as "full of meaning;

  having significance or purpose" and further states that "If you describe something as meaningful,

  you mean that it is serious, important, or useful in some way." The fact that seven months

  passed in which nothing happened indicates that, any opportunity that Plaintiff had been given to

  be heard before May 2016 was not meaningful in any way, as it was not significant or

  purposeful.

3. PLAINTIFF OBJECTS TO THE R&R'S CONCLUSION THAT NO EXCEPTIONS TO
    ELEVENTH AMENDMENT IMMUNITY ARE APPLICABLE TO THIS CASE.

          With respect to the exceptions from Eleventh Amendment Immunity which apply to this

  case, the Report states:

                 [AJlhhough Plaintiff argues in her Objections to the contrary, no
                 exceptions to Eleventh Amendment immunity are applicable to
                 Plaintiff's § 1983 official capacity claims. Accordingly, Plaintiff
                 cannot maintain her § 1983 official capacity claims against
                 Defendants. (Docket No. 49, p. 36)

          Although this statement is preceded by a recitation of some general components of

  Eleventh Amendment Immunity, it is conclusory in nature. The Report does not cite any



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   authority which would indicate that "no exceptions to Eleventh Amendment Immunity are

   applicable to this case". According to published guidance from the Department of Justice:

                   "It is the position of the Department of Justice that Section 2000d-
                  7 is an unambiguous abrogation which gives States express notice
                  that a condition for receiving federal funds is the requirement that
                  they consent to suit in federal court for alleged violations of Title
                  IX and the other statutes enumerated". (See "Section IX- Private
                  Right of Action & Individual Relief Through Agency Action. " The
                  United States Department of Justice, 26 Jan. 2017).

   The additional legal standards used to explain the relevant exceptions are further detailed in

   Plaintiff's Memorandum of Law in Opposition to Defendants' Motion to Dismiss and are

   incorporated herein by reference. (see Opp'n to MTD, Docket No. 27, pp. 6-8).

4. PLAINTIFF OBJECTS TO THE R&R' S ASSERTION THAT TITLE IX DOES NOT
   PROVIDE FOR THE IMPOSITION OF INDIVIDUAL LIABILITY
        The Supreme Court has clarified that claims under Title VI and Title IX remain

   enforceable under an implied private right of action. See Cannon v. University of Chicago, 441

   U.S. 677 (1979). The Rehabilitation Act adopts the remedies of Title VI and thereby also

   utilizes an implied right of action. (Rehabilitation Act, 29 U.S. C. § 794a(a)(2). See Lane v.

   Pena, 518 U.S. 187,191-192 (1996).

          In Fitzgerald v. Barnstable the Court held explicitly that "Title IX was not meant to be an

   exclusive mechanism for addressing gender discrimination in schools, or a substitute for § 1983

   suits as a means of enforcing constitutional rights. Accordingly, we hold that § 1983 suits based

   on the Equal Protection Clause remain available to plaintiffs alleging unconstitutional gender

   discrimination in schools." (Fitzgerald v. Barnstable School Con n ittee, 555 U.S. 246, 129 S. Ct.

   788, 172 L. Ed. 2d 582 (2009)).

5. PLAINTIFF OBJECTS TO THE REPORT'S CONCLUSION THAT THE ALLEGATIONS
   CONTAINED IN PLAINTIFF'S SECOND AMENDED COMPLAINT DO NOT
   DEMONSTRATE THAT THE UNIVERSITY WAS DELIBERATELY INDIFFERENT TO
   PLAINTIFF'S PEER-ASSAULT AND HARASSMENT.



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        a. Defendants' conduct was clearly unreasonable in light of the known
            circumstances
        The Davis Test requires that, for a University to be held liable for deliberate indifference,

it's response must have been "unreasonable in light of the known circumstances". Defendants

knew that Plaintiff had been raped by Respondent and yet they did not even notify Respondent of

the allegations against him, let alone begin an investigation, for at least three months after

Plaintiff's complaint was filed. (See Second Am. Compl., Docket No. 17 pp. 9-11). The

meetings and conversations among Plaintiff and Defendants during these three months were

merely a fagade and Ms. Hall's repeated reassurances were dilatory tactics intended to avoid the

initiation of an investigation.

              I. Defendants allowed months of inactivity to permeate their purported
                 investigation
       Defendants were aware that Plaintiff was experiencing high levels of distress about being

constantly uninformed about the status of an investigation and about possibly encountering her

rapist on campus while awaiting the conclusion of the investigation, but this did not stop them

from turning their backs on it for months at a time. The R&R quotes TTU's Investigative

Memorandum, stating, in part;

               "neither Plaintiff nor Defendants were aware that Plaintiff's
               alleged attacker had returned to the University until February 6,
               2016, when Plaintiff reported that she had seen her averred
               attacker walking on campus and Defendants conducted a new
               Banner check confirming that Plaintiff's alleged attacker was once
               again enrolled in the University. " (Docket No. 39 p. 46) (Quoting
               Investigative Memorandum).

If Defendants were actively investigating Plaintiff's complaint, then they should have known

about Respondent's enrollment status and should have warned Plaintiff that he was still taking

classes and that she might encounter him on campus.




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          A second instance in which Defendants' clearly abandoned the investigation can be easily

inferred from the dates on the Investigation Memorandum. The first page of the Investigative

Memorandum reads, in part:

                                    TTU Policy 143 (Sexual Misconduct)

                                   INVESTIGATION MEMORANDUM

                            To: Marc Burnett, Vice President for Student Affairs

                                  From: Marlene Hall, Title IX Coordinator

                                  Subject: Sexual Misconduct Investigation

                                           Date: January 26, 2017

Plaintiff was unaware that an investigation had been concluded and did not receive a copy of the

Investigative Memorandum until March 30 2017, more than eight weeks after it was sent from

Title IX Coordinator, Defendant Marlene Hall, to the Vice President of Student Affairs,

Defendant Mark Burnett. In the absence of any attempt to explain such delays, it is more than

reasonable to deduce that Defendants' conduct constitutes deliberate indifference to Plaintiff's

report.

               II.The time that it took for Defendants to conduct and conclude an investigation
                  into Plaintiff's complaint was excessive.
In Hyut v. State Univ of New York, the court found that

                 "Deliberate indifference may be found both iihen the defendant's
                 response to Imoia,n discrimination is clearly unreasonable in light
                 of the laimi,n circumstances... and when remedial action only
                 follows after a lengthy and unjustified delay. "Hayut v. State Univ.
                 of New York, 352 E 3d 733, 751 (2d Cir. 2003) (internal quotation
                 marks omitted).

The United States Department of Education's Office of Civil Rights recently reviewed

Washington State University's handling of multiple reported cases of student - student sexual

assault and determined that the school had violated its obligations under Title IX for failing to



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promptly respond to several of these complaints. The investigative findings were described in a

letter from the OCR stating, in part:

                "For these three complaints (taking 139, 218 and 125 days to
               complete), there was no evidence in the university's investigative
               files to justify the delays in the investigation, and when interviewed
               about the delays, a university official cited a lack of investigatory
               resources as the reason for the delays. OCR finds that this is an
               insuffrcientjustifrcation under Title IXfor a lack ofprompt
               investigations, and as such, finds the university violated Title IX in
               these three specific instances. "See OCR Letter of Findings for
               WSU; OCR Reference Nos. 10122142, 10152153, and 10182046.

In the current case, it took 504 days for the investigation to be completed. Finally, even if

Defendants had begun an investigation into Plaintiff's complaint in a timely manner, the nature

of Plaintiff's complaint was so serious that it was imperative that the University complete an

efficient and effective investigation and it would have been irresponsible and unlawful for

Defendants to knowingly allow periods of inactivity to permeate such an investigation to the

extent that they would cause a sixteen-month delay.


          III. Defendants' refused to provide Plaintiff with requested information about the
                 status or existence of an investigation.
       A number of email exchanges evidence the multiple times that Plaintiff requested

   information or explanation regarding a timeline for the initiation and/or conclusion of an

   administrative investigation and Defendants declined to provide information. Given that the

    complaint was based on a report that Plaintiff was raped by a fellow student, this response

   was clearly inadequate and unreasonable. Some examples of such emails include:


       On January 19, 2016, Plaintiff emailed Defendant Hall, writing:

             "If it's starting to look like we won't be able to proceed, for
             whatever reason. I'd rather know now than in the middle of the
             semester ".
       On February 10, 2016, Plaintiff emailed Defendant Hall, writing:



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                "You are probably tired of having to constantly reassure me, but I
               have to do what is best for me and if there is a reason to believe
               that this investigation won't ever happen, I'd rather know now than
               find out in the middle of the semester"

       On May 2, 2016, Plaintiffs former attorney, Mr. Alex Little, wrote to Defendant Hall on

Plaintiff s behalf to request that TTU provide "an immediate update" regarding the status of the

investigation. On May 6, 2016, University Counsel, Defendant Carpenter sent an email to Mr.

Little in which she refused to provide an update about the investigation or initiate disciplinary

action against Respondent.

       b. Defendants' conduct caused Plaintiff to be vulnerable to further harassment

       Contrary to the assertion of the R&R, a lack of post-notification harassment is not

sufficient to preclude conduct that is deliberately indifferent in cases of student-on-student sexual

harassment. In Farmer v. Kansas State University, the court addressed the university's failure to

respond to the plaintiff's sexual assault complaint, saying:

               "the courts that have directly addressed this issue have held that
               Davis requires that the funding recipient's deliberate indifference
               leave the student liable or vulnerable to further harassment, not
               that further harassment actually occur. Courts have consistently
               recognized That a student need not allege multiple instances of
               sexual assault to state a plausible Title IX claim. " (Citing
               Kinsman v. Fla. State Univ. Bd. of Trs. 2015. And Korosek y.
               Regents of the Univ. of Col. 2015) (internal quotations omitted).

In Plaintiff's Memorandum of Law in Opposition to Defendants' Motion to Dismiss, Plaintiff

explains that Respondent's presence on campus was harassing because it exposed her the

possibility of an encounter with him. Plaintiff also clarifies that TTU's continuous empty

promises to notify Respondent of the Report against him caused her to be constantly fearful that

any day could be the first day that Respondent knew she reported the assault.




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6. PLAINTIFF OBJECTS TO THE REPORT'S ASSERTION THAT THE LEGAL
   STANDARDS FOR TITLE IX AND U.S. C. § 983 CANNOT BE MUTUALLY
   EXCLUSIVE.
     It is true that the elements of claims under Title IX and Section 1983 are distinct and

separate, but the two standards need not be conflated to be conflicting. Plaintiff's objection is not

based on the legal standards being mutually exclusive overall, rather she objects to the R&R's

attempt to confer upon Defendants different roles in order to argue different issues. If defendants

are considered to be a public entity for the purposes of avoiding liability under Section 1983,

then they must also be considered a public entity for purposes of determining liability under Title

IX. The R&R recommends dismissal of Plaintiff's Title IX claims against Defendants in their

individual capacities by reasoning that "Title IX does not provide for the imposition of individual

liability; rather, Title IX applies to recipients of federal funds. Because the individual

Defendants are not themselves recipients of federal funds, they cannot be held liable" (Docket

No. 49, p. 40).

7. PLAINTIFF OBJECTS TO THE R&R'S CONCLUSION AND REASONING THAT
   PLAINTIFF CANNOT ESTABLISH THE REQUISITE UNDERLYING
   CONSTITUTIONAL VIOLATION TO MAINTAIN HER § 1983 INDIVIDUAL
   CAPACITY CLAIMS.
      a. Plaintiff has stated sufficient facts to support her Due Process Claims
   The Supreme Court summarized the nature of the due process requirements in Matthel4s v.

Eldridge, stating in part: "[T] he fundamental requirement of due process is the opportunity to

be heard at a meaningful time and in a meaningful manner." The Court further explained the

three factors that are considered when determining the specifics of due process required:


 First, the private interest that 14411 be affected by the official action; second, the risk of are
erroneotts deprivation of such interest through the procedures used, and the probable value, if
any, of additional or substitute procedural safeguards; and finally, the Government's interest,
including the function invoh,ed and the fiscal and administrative burdens that the additional or
substitute procedural requirement would entail.

 Mathews v. Eldridge, 424 U.S. 319, 333, 96 S.Ct. 893, 47L.Ed.2d 18 (1976)).



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      I. Plaintiff had private property and liberty interests that were affected by the official
         action
The facts contained in Plaintiff's Second Amended Complaint clearly identify the property and

liberty interests that were affected by Defendants' actions. The complaint states, in part that:

                `folloi,j,ingRespondent's assault of'her, Respondent's presence on
               campus and the accompanying risk that she might encounter him
               created a hostile environment that effectively deprive[d] her of the
               educational opportunities of benefits provided by the school". Id
               at 9.

 These benefits constitute a private property interest. The deprivation of Plaintiff's liberty

interest in the right to acquire useful knowledge is also exemplified by many facts contained in

the complaint, including the statement that:

              "Plaintiff described severe emotional effects which she had been
              suffering since her assault by Respondent. These effects included
              difficulties ii ith focus and problems with her working memory.
              Hall confirmed that many of the psychological effects described by
              Plaintiff in this meeting were not uncommon for a victim to
              experience in the aftermath of a rape. "
Since working memory and focus are both imperative cognitive functions for the development of

new concepts and the understanding and processing of new information, these impairments

barred Plaintiff from the freedom to acquire useful knowledge as long as TTU continued to allow

the hostile educational environment to exist.

     II. The University's response posed a serious and imminent risk of an erroneous
          deprivation of Plaintiff's property and liberty interests
        Plaintiff spoke to Defendants about her impaired focus and her inability to freely access

University resources and she explained that these limitations resulted from her fear of

encountering her attacker on campus. Plaintiff's Second Amended complaint includes several

examples of such conversations. Id at 9, 11 and 15. Plaintiff's status as the victim of a sexual

assault does not preclude her from being subject to violations of due process by the bodies tasked

with investigating such claims. TTU's conduct deprived Plaintiff of the property and liberty




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interests and specific examples are described in Plaintiff's Objections and previous filings.

Plaintiff's Objections reference TTU's published procedures to point out that TTU was aware of

its obligations to take some action to help Plaintiff mitigate the property and liberty interests

which were sure to be endangered by the constant possibility that she might encounter her

attacker- on campus.

       Plaintiff had a property interest in benefits offered by the university and a liberty interest

in the freedom to acquire useful knowledge, both of which were denied to her by Defendants'

conduct. Defendants' empty promises of a pending investigation kept Plaintiff in a state of

limbo, not knowing if her attacker knew she had reported him or if TTU had even begun

investigating her attack.

    III. The University could have taken steps to prevent the deprivation of Plaintiff's property
          and liberty interests without undertaking actions that were detrimental to any
          government interest and without imposing additional fiscal and administrative burdens
          on the University.

         The Dear Colleague Letter addresses the responsibility of the Title IX coordinator,
stating in part:

               "The Title IX coordinator is responsible for coordinating the
               recipient's responses to all complaints involvingpossible sex
               discrimination. This responsibility includes monitoring outcomes,
               identifying and addressing any patterns, and assessing effects on
               the campus climate. " See Dear Colleague Letter, Washington,
               DC: U.S. Department of Education, Office for Civil Rights.


       Therefore, it is clear that one key function of a Title IX Coordinator is to be available to

respond to complaints of sexual harassment and sexual assault. The designation of an employee

to oversee this responsibility should allow schools to be available to promptly respond to such

complaints without causing additional fiscal or administrative burdens to existing university

faculty or campus services. Furthermore, in the OCR's recent letter regarding violations of Title




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IX at WSU, it found that a lack of investigatory resources was not sufficient to justify excessive

delays in investigating complaints of sexual assault. The letter states, in relevant part:

                 "Specific examples that illustrate the OCR's concern regarding
                promptness include a complaint that took 234 days for the
                investigation to be completed with no evidence in the file to justify
                the delay; a complaint that took 311 days for the investigation and
                sanctions process to be completed ivith no explanation in the file
                for the delay, ivhich OCR believes may have contributed to an
                ongoing hostile environment for the complainant and other
                students; and a complaint that took 170 days for the investigation
                and sanctions to be completed and for ii hick the university's
                explanation for the delay was not sufficient to justify the 170 day
                time ji-ame ". See OCR's Letter of Findings to WSU.

        b. Plaintiff has provided sufficient specific facts to support her Equal Protection
            Claim
            The R&R states the following about Plaintiff's Equal Protection claim:

               "Plaintiff fails, however, to allege that she is a member of a
               protected class, and that Defendants intentionally discriminated
               against her on the basis of her membership in that protected class.
               See, e.g., Henry, 922 E 2d at 341. Accordingly, Plaintiff cannot
               sustain her Equal Protection claim and it should be dismissed".

 Plaintiff contends that, since many of her claims relate to TTU's mishandling of her report of

sexual assault, and since sex/gender is a protected class, it can be reasonably inferred that her

Equal Protection claims are based on sex discrimination. A document filed pro se is "to be

liberally construed," Estelle, 429 U.S., at 106, 97 S.Ct. 285, and "apro se complaint, however

inartfully pleaded, must be held to less stringent standards than formal pleadings drafted by

lawyers," ibid. (internal quotation marks omitted). Cf. Fed. Rule Civ. Proc. 8(f) (" All pleadings

shall be so construed as to do substantial justice")


       The disparate treatment giving rise to Plaintiff's Equal Protection Claim was manifested

through the following actions: Plaintiff was interviewed multiple times without an attorney

present, whereas Respondent was only interviewed once, with his attorney at his side. Plaintiff



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 was required to provide a written statement of her account but Respondent was not. Plaintiff's

 access to university resources were limited by her fear of her attacker, whereas Respondent

 continued to enjoy full access to all university common areas and benefits. Finally, and most

importantly, Defendants stalled the conclusion of their investigation until Respondent had

voluntarily left the University and thus Defendants denied Plaintiff the opportunity to be heard at

a meaningful time.

        Furthermore, the University's dismal response to Plaintiff's complaint effectively

protected Respondent and safeguarded his interests. in benefits offered by the school at the

expense of Plaintiff's property and liberty interests. Since TTU is a public entity, all of

Defendants' internal emails will be available during discovery and will likely produce additional

evidence of Defendants' motivations to protect Respondent at Plaintiff's expense.


8. PLAINTIFF OBJECTS TO THE R&R'S RECOMMENDATION THAT THIS COURT
SHOULD DECLINE TO EXERCISE SUPPLEMENTAL JURISDICTION OVER HER STATE
CLAIMS.
     Plaintiff, at this stage of the proceedings, has sufficiently alleged facts that indicate that

Defendants' acted unlawfully and states a claim upon which relief can be granted. Since Plaintiff

has set forth sufficient facts, with respect to her claims under Title IX and her claims under

U.S.C. § 1983, to survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), this Court should

also exercise its jurisdiction to Plaintiffs State Law Claims

                                             CONCLUSION


       Plaintiff's Second Amended Complaint alleges sufficient facts to indicate that there is far

more than a mere possibility that Defendants acted unlawfully and Defendants' Motion to

Dismiss should not be granted. The general standard used for determining liability for an

inadequate response by a university to student sexual harassment relies largely on whether the



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action taken by the university was unreasonable in light of the known circumstances. Defendants

knew that Plaintiff reported that she had been raped by another TTU student, that Plaintiff was

suffering emotional and cognitive impairments as a result, and that Plaintiff was effectively

unable to freely access resources offered by the University, and yet Defendants failed to initiate

an investigation for 100 days after Plaintiff filed her complaint and did not conclude the

investigation until Respondent had already left the University. This response was clearly

unreasonable in light of the known circumstances and Plaintiff has sufficiently alleged facts that

support her claims.


        Furthermore, Plaintiff has cited authorities to indicate that Title IX does not preclude a

concurrent claim for Equal Protection violations under 42 U.S.C. 1983 and therefore her

individual capacity claims against Defendants should not be dismissed. She has also referenced

relevant sources to show that Defendants are not protected from official capacity claims by any

immunity doctrines. Finally, she has asserted specific facts which fulfill each of the elements of

her claims for violations of rights protected by the Fourteenth Amendment.


       As the court stated in Ricco v. Potter, "A Rule 12(b)(6) motion should not be granted

unless it appears beyond a reasonable doubt that the plaintiff can prove no set of facts in support

of his claims which would entitle him to relief. Ricco v. Potter, 377 F. 3d 599 (6th Cir.

2004)(quoting Cameron v. Seltz, 38 F.3d 264,270 (6th Cir. 1994) (quotation omitted)) For the

reasons stated in this document, Defendants' Motion to Dismiss should be denied.


Respectfully signed this 28th day of June, 2019.

                                                                                   Sarah Beth Cain

                                                                                             Plaintiff


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